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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


CRAIG WILSON, ERIC BELLAMY,                       )   CASE NO.: 4:20cv794
KENDAL NELSON, and MAXIMINO                       )
NIEVES, on behalf of themselves and those         )
similarly situated,                               )
                                                  )
                       Petitioners,               )   JUDGE: JAMES S. GWIN
                                                  )
               v.                                 )
                                                  )
MARK WILLIAMS, Warden of Elkton                   )
Federal Correctional Institution; and             )
MICHAEL CARVAJAL, Federal Bureau of               )
Prisons Director, in their official capacities,   )
                                                  )
                       Respondents.               )




  ANSWER, RETURN OF WRIT, AND RESPONSE IN OPPOSITION TO PETITION FOR
     WRIT OF HABEAS CORPUS, INJUNCTIVE AND DECLARATORY RELIEF
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                                    STATEMENT OF ISSUES

1.     Whether habeas relief is available to challenge conditions of confinement.

2.     Whether the Prison Litigation Reform Act of 1995 prohibits the release of inmates.

3.     Whether Petitioners are being subject to an unreasonable risk of harm.

4.     Whether Respondents can be found deliberately indifferent despite taking measures to

       protect and care for the health of the inmates at Elkton.

5.     Whether Petitioners are likely to succeed on the merits of their claims.

6.     Whether Petitioners can establish imminent irreparable harm.

7.     Whether granting hundreds of inmates an immediate release would cause harm to some of

       them or others.

8.     Whether the public health and safety would be served by immediately releasing hundreds

       of prisoners from incarceration.

9.     Whether Petitioners are entitled to class certification in this case.

                                  SUMMARY OF ARGUMENT

       The Federal Bureau of Prisons (“BOP”) has been monitoring and tracking the spread of

COVID-19 since January 2020 when the first cases of the virus appeared in the United States.

BOP staff have taken measures at FCI-Elkton to prevent and treat COVID-19 among inmates,

including providing inmate and staff education; conducting inmate and staff screening; putting

into place testing, quarantine, and isolation procedures in accordance with BOP policy and CDC

guidelines; ordering enhanced cleaning and medical supplies; restricting inmates to their

residential area with only one pod moving at a time for meals, and taking a number of other

preventative measures.

       The gravamen of the Petition is that Petitioners are entitled to habeas relief and release



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from Elkton pursuant to 28 U.S.C. § 2241 based on “unconstitutional conditions of confinement.”

(Pet. ECF No. 1 PageID # 35.) However, it is well-settled that a habeas petition under 28 U.S.C.

§ 2241, “is not the proper vehicle for a prisoner to challenge conditions of confinement.” Luedtke

v. Berkebile, 704 F.3d 465, 466 (6th Cir. 2013); see also Nelson v. Campbell, 541 U.S. 637, 643

(2004). Further, the Prison Litigation Reform Act of 1995 (“PLRA”), 18 U.S.C. § 3626, places

strict limits on courts’ ability to order the release of inmates “in any civil action in Federal court

with respect to prison conditions…” and precludes a single district judge from doing so. 18 U.S.C.

§ 3626(a)(3)(B).

       In order to establish their claims that their confinement is unconstitutional, Petitioners must

establish that “the deprivation alleged must be, objectively, ‘sufficiently serious’…” and that it is

“the unnecessary and wanton infliction of pain….” Farmer v. Brennan, 511 U.S. 825, 834 (1994).

Petitioners can establish neither prong. First, Petitioners cannot establish that they have suffered

a “sufficiently serious” deprivation, because the BOP has taken appropriate steps to mitigate the

risks of COVID-19 throughout its inmate population including with respect to the inmate

population at Elkton. Those measures include providing inmate and staff education; conducting

inmate and staff screening; putting into place testing, quarantine, and isolation procedures in

accordance with BOP policy and CDC guidelines; ordering enhanced cleaning and medical

supplies; and taking a number of other preventative measures. Second, Petitioners cannot establish

that the BOP is deliberately indifferent to their health needs because BOP has worked very hard

to prevent the spread of COVID-19 among the inmate population and has cared for and treated

inmates who have gotten sick.

       In addition to habeas relief, Petitioners also seek a temporary restraining order and

injunctive relief. A district court must balance four factors in determining whether to grant



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injunctive relief: (1) whether the movant has a strong likelihood of success on the merits; (2)

whether the movant would suffer irreparable injury absent the injunction; (3) whether the

injunction would cause substantial harm to others; and (4) whether the public interest would be

served by the issuance of an injunction. None of these factors favor relief.

       First, Petitioners are unlikely to succeed on the merits because the conditions at Elkton are

different than portrayed in the Petition. Instead, staff at Elkton have numerous measures in place

in compliance with CDC and BOP guidelines to prevent the spread of COVID-19. Further,

Petitioners cannot show that the immediate release of a substantial number of Elkton inmates or

themselves would lessen their risk of them contracting COVID-19. The also cannot show legal

authority for the Court to release prisoners.

       Second, Petitioners cannot show irreparable injury absent the requested relief.           As

discussed, the BOP have put in place a myriad of protections within Elkton reduce the risk that

persons with COVID-19 enter Elkton in the first place and prevent the spread of COVID-19 within

Elkton. Moreover, Petitioners fail to address in any meaningful way how, if released, they will be

safer from the risk of infection or have access to adequate care if infected. Every person in the

United States, whether in a prison or not, faces the risk of COVID-19 exposure. Thus, Petitioners

cannot show irreparable injury.

       Third, Petitioners demand for the immediate release and removal of a substantial portion

of the population at Elkton would cause substantial damage to others. Petitioners can provide no

assurances that these hundreds of inmates who they propose to be immediately released would be

able to provide food, shelter, and medical care for themselves. It is quite likely that the sudden

removal of so many inmates would leave some of them homeless and without access to food,

shelter, or medical care in the midst of a grave pandemic that is impacting the entire nation.



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       Finally, the public interest would not be served by granting relief. The immediate release

of hundreds of inmates would pose profound risks to the public from released prisoners engaging

in additional criminal activity, potentially including violence or heinous sex offenses. Our over-

burdened police and safety services should not be forced to deal with the indiscriminate release of

hundreds of prisoners onto the streets without any verification that those prisoners will follow the

laws when they are released, that they will have a safe place to go where they will not be mingling

with their former criminal associates, and that they will not return to their formerways as soon as

they walk through the prison gates.

       In addition to relief, Petitioners seek class certification of every current and future inmate

at Elkton. To certify a class under Fed. R. Civ. P. 23, a plaintiff must show that the proposed class

satisfies all four requirements of Fed R. Civ. P. 23(a): numerosity, commonality, typicality, and

adequacy of representation. Here there is no commonality and typicality because Petitioners’

proposed class would combine inmates that have different crimes, sentences, outdates, disciplinary

histories, ages, medical histories, proximities to infected inmates, availabilities of a home landing

spot, likelihoods of transmitting the virus to someone at home detention, likelihoods of violation

or recidivism, and dangers to the community. Moreover, class members likely have different

means to provide for themselves upon release and different access to medical care upon release.

Petitioners even lump together inmates who are currently sick with COVID-19 with asymptomatic

inmates and inmates who were previously sick and made a full recovery. There simply is no

comomonality and typicality among proposed class members other than incarceration at Elkton.

       Likewise, Petitioners cannot show adequacy of representation because they demand a

dramatic remedy that would have a profound effect on members of the class without considering

the impact on the class members. It is quite likely that the sudden removal of so many inmates



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would leave some of them homeless and without access to food, shelter, or medical care in the

midst of a grave pandemic that is having a substantial impact on the nation. Petitioners’ failure to

consider or account for such concerns in the immediate and sweeping relief that they seek

demonstrates that they are not fit to represent the members of their proposed class.

                                                INTRODUCTION

         Respondents Mark Williams, Warden of Elkton Federal Correctional Institution and

Michael Carvajal, Director of Federal Bureau of Prisons, in their official capacities

(“Respondents”), submit the following Answer, Return of Writ, and response in opposition to

Petitioners’ Emergency Petition for Writ of Habeas Corpus, Injunctive, and Declaratory Relief.

Except as expressly admitted herein, Respondents deny each and every allegation contained in the

Emergency Petition and deny Petitioners are entitled to any relief.1

         Petitioners Craig Wilson, Eric Bellamy, Kendal Nelson, and Maximino Nieves are inmates

at the Federal Correctional Institution-Elkton (“Elkton”) in Lisbon, Ohio, and bring this action on

behalf of themselves and, purportedly, on behalf of all current and future inmates of Elkton.

Petitioners claim that Respondents have failed to take adequate measures to protect them against

the dangers posed by COVID-19. (See generally ECF No. 1.) They seek certification of the Petition

as a class action; a temporary restraining order, preliminary injunction, permanent injunction

and/or a writ of habeas corpus requiring Respondents to release all Medically-Vulnerable Subclass

Members Id. at 36, submission of a plan for mitigation of COVID-19 and to provide housing for



1
  Because this filing is an Answer, Return of Writ and Response in Opposition to the Emergency Petition for Writ of
Habeas Corpus, Injunctive, and Declaratory Relief, undersigned counsel do not believe that the page limit
restrictions contained in Loc. R. 7.1(f) apply. However, if the Court determines that Loc. R. 7.1(f) applies to
Respondents’ filing, then Respondents hereby respectfully move instanter for an enlargement of the page limits to
38 pages (exclusive of the cover sheet, table of contents, and table of authorities) due to the complexity of the issues
involved and the volume of information necessary to give the Court an accurate description of all of the pertinent
facts. Further, Respondents note that their filing is shorter than Petitioners’ Emergency Petition.


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self-isolation of exposed/infected Subclass or Class members for the CDC recommended period

Id. at 37; release of as many Class Members as is necessary to allow for inmates to maintain six

feet of distance between them Id.; and a declaration the Elkton’s policies and practices violate the

Eighth Amendment Id.

           As explained below, the Bureau of Prisons staff and officials (“BOP”) are taking

substantial measures at Elkton to address COVID-19, including screening, testing, isolating, and

quarantining. The BOP has also taken numerous other steps to prevent spread of COVID-19 in the

facility and is assessing inmates for home confinement and/or to recommend compassionate

release as directed by the Attorney General. Therefore, Respondents urge this Court to deny the

relief requested by Petitioners.


                                            STATEMENT OF FACTS


I.         THE COVID-19 PANDEMIC AND THE BOP’S RESPONSE

           The Federal Bureau of Prisons (“BOP”) has been monitoring and tracking the spread of

COVID-19 since January 2020 when the first cases of the virus appeared in the United States. (See

Exhibit A, Declaration of Sarah Dees (“Dees Decl.”) at ¶ 6.) Recognizing the threat that this virus

could pose to its inmate population, the BOP began quickly organizing its national pandemic

response into a multiphase “Action Plan,” implementing a variety of protocols in response to the

rapidly shifting landscape of this pandemic across the United States.2 (Id. at ¶7.) Among other

things, the BOP has, on a nationwide basis: implemented screening requirements for inmates and

staff; temporarily suspended social visits, legal visits, inmate transfers, official travel, and

contractor access; updated its quarantine and isolation procedures; and instituted a “modified


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    These protocols are discussed at length in the accompanying Declaration of Sarah Dees, Ex. 1.

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operations” plan, which directs BOP facilities to adjust their daily operations in a manner that

permits inmates to engage in physical distancing while in common areas, such as during mealtimes

and recreation. (Id. at ¶¶ 8-15.)

       On April 1, 2020, the BOP ordered all inmates to remain “secured in their assigned cells”

for a period of 14 days (to be reevaluated at the conclusion of that time period), in order to decrease

the spread of the virus. (Id. at ¶ 16.) On April 13, 2020, the BOP ordered an extension of the April

1, 2020 modified operations order through May 18, 2020. (Id. at ¶ 17.)

II.    STEPS BEING TAKEN AT ELKTON TO PREVENT COVID-19’S SPREAD

       Elkton is a low security facility designed to house approximately 2,000 inmates at the main

facility (FCI) and approximately 500 inmates at the Federal Satellite Low (FSL). (See Exhibit B,

Declaration of Kristy Cole (“Cole Decl.”) at ¶ 3.) The FCI facility and the FSL are separate

facilities and the inmate populations do not interact. (Id.) The FCI consists of 3 buildings

containing 12 dorm-style housing units of each. (Id.) There are approximately 300 inmates in each

housing unit. (Id. at ¶ 22.) Each housing unit is divided into an A side and a B side. (Id.) The A

and B sides are separated and the inmates do not intermingle. (Id.) The FSL is one building with

two dorm-style housing units. (Id.) Each housing unit is divided into an A side and a B side. (Id.)

There are approximately 250 inmates in each FSL unit. (Id.)

       Elkton has implemented each of the steps described above in compliance with BOP’s

national directives, and has also taken numerous other measures to fight the introduction and

spread of COVID-19 within its facilities. (Dees Decl. at ¶ 19.) As explained below, those

measures include providing inmate and staff education; conducting inmate and staff screening;

putting into place testing, quarantine, and isolation procedures in accordance with BOP policy and

CDC guidelines; ordering enhanced cleaning and medical supplies; and taking a number of other



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preventative measures. (Id. at ¶ 19.) Additionally, Elkton implemented the “modified operations”

directive in a number of ways, including: (1) “grab and go” meals for inmates, meaning that

inmates are permitted to pick up pre-packaged meals at designated times, but had to return to their

housing units in order to eat; scheduled staggered mealtimes, so that only a single housing unit

(approximately 150 inmates) are moving within the facility at any particular time; and (2) Health

Services pill line (controlled medication dispensing) and (3) commissary are accomplished during

these times as well. (Id. at ¶ 12.)

       A.      Screening

       Elkton has implemented extensive measures to screen inmates for COVID-19, both for

newly arriving inmates and for its resident inmate population. Newly arriving inmates are both

screened and quarantined. (Dees Decl. at ¶¶ 23-24.) All incoming Elkton inmates are screened

by Health Services medical providers in a single, controlled area separate from other complex

staff and inmates. (Id. at ¶¶ 23-24, 26.) Inmates are evaluated for any symptoms of illness, as well

as for “exposure risk factors” such as recent exposure to known or suspected COVID-19 cases.

(Id.) Whether or not inmates display symptoms or exposure risk factors, they are automatically

quarantined for a period of 14 days to ensure that they do not develop any symptoms consistent

with COVID-19, and are only released into the general population at the expiration of those 14

days and upon medical clearance. (Id. at ¶¶ 24-25.) All staff in any such quarantine or isolation

units must wear Personal Protective Equipment. (Id. at ¶ 24.)

       Additionally, Elkton has put into place screening measures to identify and manage any

COVID-19 infections within the complex’s existing inmate population. First, Health Services

reviewed inmate medical records to identify “high-risk” individuals pursuant to CDC guidelines.

(Id. at ¶ 30.) Specifically, staff identified (1) all individuals over age 65; and (2) individuals



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diagnosed with certain medical conditions, identified by the CDC as “high risk”. (Id. at ¶¶ 30-31.)

These individuals continue to be screened for symptoms and temperature. (Id. at ¶ 31.) Second,

Elkton is actively monitoring its general inmate population for illness. Inmates are actively

encouraged to self-report symptoms of illness to unit staff either orally or via a written request to

staff. (Id. at ¶ 33.) Any inmate who presents with symptoms consistent with COVID-19 will be

evaluated by a medical provider in the Health Services Department. (Id. at ¶ 34.) Based upon this

evaluation, a determination will be made whether isolation and/or testing is appropriate. (Id.)

Elkton has also implemented enhanced screening measures for inmates with ongoing work details,

whose functions have been determined to be “essential” to the institution. (Id. at ¶ 32.) These

inmates are screened for symptoms of illness and are required to have their temperatures taken,

both before their shifts begin and once again before returning to their housing units. (Id.)

       B.      Isolation and Quarantine Procedures

       Any inmate who presents with symptoms consistent with COVID-19 will be evaluated by

a medical provider in the Health Services Department. Based upon this evaluation, a determination

will be made whether isolation and/or testing is appropriate. (Dees Decl. at ¶ 34.) Elkton medical

providers are prioritizing immediate medical care for anyone who claims symptoms indicative of

a COVID-19 infection. (Id. at ¶ 35.)

       In addition to the areas designated for quarantine and isolation, Elkton has a “bridge-unit”

staffed by the Ohio National Guard medical unit. (Id. at ¶ 53.) The bridge-unit acts as a step down

unit for inmates returning from hospitalization for COVID-19 symptoms. (Id.) The bridge unit

has had a range of patients from 2-15 at any one time. (Id.)

       C.      Testing

       Elkton is conducting testing in accordance with CDC guidelines. The CDC has explained



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that “[n]ot everyone needs to be tested for COVID-19,” and “decisions about testing are at the

discretion of state and local health departments and/or individual clinicians.”                  (See

cdc.gov/coronavirus/2019-ncov/symptoms-testing/testing.html (last visited on Apr. 16, 2020).) At

Elkton, there are currently not enough tests to test every inmate.           (Dees Decl. at ¶ 41.)

Consequently, the decision whether to test an inmate for COVID-19 is made by Health Services

staff based on a number of criteria, including but not limited to: (1) the nature and severity of the

symptoms; (2) the inmate’s potential exposure to COVID-19; (3) whether the inmate is considered

“high-risk,” and (4) whether the inmate is on a work detail, such as food service, that requires the

inmate to interact with other inmates or staff. (Id. at ¶ 41.)

       Elkton received 55 swabs and medical supplies to test inmates for COVID-19. (Id. at ¶

43.) As of April 15, 2020 Elkton has 18 swabs remaining. (Id.) Elkton continues to work

diligently to obtain as many COVID-19 tests as possible. (Id.) In addition, Elkton has 25 Abbott

rapid screening cassettes, and anticipates receiving 25 additional Abbott cassettes per week. (Id.)

       As of April 15, 2020, 39 Elkton inmates have tested positive for COVID-19. (Id. at ¶ 42.)

There are 34 staff members who have tested positive for COVID-19. (Id.) There have been 5

inmate deaths. (Id.)

       D.      Screening and Excluding Staff and Visitors

       All individuals entering Elkton (including staff, delivery drivers, or any other visitors) must

undergo a health screening prior to entry and the screening occurs while the individual is in their

vehicle outside the facility. (Dees Decl. at ¶ 36.) This includes having their temperature taken

and being asked a number of questions to evaluate their risk of exposure, as well as whether they

have been experiencing any symptoms of illness. (Id.) The individuals conducting this screening

have authority to deny entry to anyone with a temperature above 99 degrees Fahrenheit, or who



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report COVID-19 symptoms or exposure risk factors. (Id. at ¶ 37.)

        E.      Cleaning

        All common areas in inmate housing units are cleaned daily, and are typically cleaned by

inmate orderlies multiple times throughout the day. (Dees Decl. at ¶ 46.) Elkton has also made

this disinfectant available to inmates so that they may use it to clean their own cells. (Id. at ¶ 47.)

Common areas outside inmate living areas, including the lobby, bathrooms, cafeteria, etc., are also

cleaned with the same disinfectant on a daily basis. (Id. at ¶ 46.) Correctional staff are also

required to disinfect all common equipment, such as keys and radios, upon obtaining these items

from the supply room and again upon their return. (Id. at ¶ 48.) Staff also have regular, consistent

access to soap and hand sanitizer. (Id.)

        F.      Supplies

        Correctional staff have been provided PPE to be used in appropriate locations throughout

Elkton such as quarantined areas, isolation units, and screening sites. Elkton has sufficient PPE on

hand, including N-95 respirator masks, surgical masks, rubber gloves, gowns, and foot coverings

to meet its current and anticipated needs, as well as the ability to order additional PPE should the

need arise. (Id. at ¶ 49.) In addition, all inmates and staff were provided protective face masks for

daily use. (Id. at ¶ 50.)

        All inmates have access to sinks, water, and soap at all times. (Id. at ¶ 45.) All inmates

may receive new soap weekly. (Id.) Inmates will receive additional soap upon request. (Id.) For

inmates without sufficient funds to purchase soap in the commissary, soap is provided at no cost

to the inmate. (Id.)

        G.      Inmate and Staff Education

        From the outset of the COVID-19 pandemic, Elkton staff and officials have provided



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regular education to inmates and staff regarding the virus, the BOP’s response, and the measures

that they themselves should take to stay healthy, including washing their hands frequently with

soap and water, avoiding touching their faces, and practicing physical distancing whenever

possible. (Dees Decl. at ¶¶ 20-22.)

III.    HOME CONFINEMENT AND COMPASSIONATE RELEASE

        A.     Compassionate Release

        BOP does not have the authority to provide inmates with “early release.” A reduction of

an inmate’s federal sentence can only be accomplished by an Article III judge, and specifically,

the inmate’s sentencing judge. However, upon an inmate’s request, the Director of BOP may make

a motion to an inmate’s sentencing court to reduce a term of imprisonment under 18 U.S.C. §

4205(g) and 18 U.S.C. § 3582(c)(1)(A). This process is outlined in the U.S. Dep’t of Justice Fed.

Bureau of Prisons, Compassionate Release/Reduction In Sentence Procedures for Implementation

of 18 U.S.C. §§ 3582 and 4205(g), Program Statement 5050.50 (Jan. 17, 2019),

http://www.bop.gov/policy/progstat/5050_050_EN.pdf.

        Upon information and belief, within the past 15 days, approximately 550 Elkton inmates

have submitted a request for Compassionate Release to BOP. (Cole Decl. ¶6.) Of the four

named Petitioners in this case, only Mr. Nelson has submitted a request for Compassionate

Release to BOP. (Id.) That request is under consideration. (Id.) To date, 7 inmates have been

denied Compassionate Release by the Warden. (Id.) Packets for another 36 inmates are currently

being reviewed by Health Services to determine if they meet the criteria for Compassionate

Release. (Id.) Importantly, while the BOP is processing these requests as expeditiously as

possible, the statute gives the BOP thirty (30) days to evaluate compassionate release requests




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before any motion may be presented in the sentencing court. 18 U.S.C. § 3582(c)(1)(A). Further,

the ultimate decision lies with the sentencing judge. Id.

           B.      Home Confinement

           At the Attorney General’s direction, the BOP has also significantly increased the number

of inmates on home confinement by over 40% and continues to screen all inmates to determine

whether they are appropriate for home confinement.3 By memorandum dated March 26, 2020 and

April 3, 2020, the Attorney General directed the BOP to “prioritize the use of [its] various statutory

authorities to grant home confinement for inmates seeking transfer in connection with the ongoing

COVID-19 pandemic.” (See Exhibit C, Attorney General Memos dated March 26, 2020 and April

3, 2020, BOP Memo April 15, 2020.)Then on April 15, 2020, the BOP issued additional guidance

regarding home confinement (Id.) The Attorney General directed the BOP to consider the totality

of the circumstances of each inmate, the statutory requirements for home confinement, and a series

of factors including the age and vulnerability of the inmate, the security level of the facility holding

the inmate, the inmate’s conduct while incarcerated, the inmate’s score under the Prisoner

Assessment Tool Targeting Estimated Risk and Needs, whether the inmate has a demonstrated and

verifiable reentry plan that will prevent recidivism and ensure public safety (including verification

that the conditions under which the inmate would be confined upon release would present a lower

risk of contracting COVID-19 than the inmate would face at their current facility), and the inmate’s

crime of conviction.4




3
    See https://www.bop.gov/resources/news/20200405_covid19_home_confinement.jsp (last visited Apr. 16, 2020).
4
  See https://www.bop.gov/resources/news/pdfs/20200405_covid-19_home_confinement.pdf (last visited Apr. 16,
2020).


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       Generally, the BOP may place a prisoner in home confinement only for the shorter of 10

percent of the term of imprisonment or 6 months. 18 U.S.C. § 3624(c)(2). Under the Coronavirus

Aid, Relief, and Economic Security Act (“CARES Act”), signed into law on March 27, 2020,

however, “if the Attorney General finds that emergency conditions will materially affect the

functioning of the BOP, the Director of the Bureau may lengthen the maximum amount of time

for which the Director is authorized to place a prisoner in home confinement.” Pub. L. No. 116-

136, 516 § 12003(b)(2), 134 Stat. 281 (2020). On April 3, 2020, the Attorney General made that

finding and authorized the Director of the Bureau to immediately maximize appropriate transfers

to home confinement of all appropriate inmates held at Elkton. (Cole Decl. at ¶ 18.)

       Pursuant to the Attorney’s General’s direction, Elkton receives rosters of inmates to be

considered for home confinement. (Id. at ¶ 19.) The factors to be considered are: the inmate’s age

and vulnerability to COVID-19 per CDC guidelines, the inmate’s conduct in prison including

violence and gang activity, the inmate’s recidivism risk, the inmate’s reentry plan, the inmate’s

danger to the community. (Id.) Some offenses, such as sex offenses, will render an inmate

ineligible for home confinement. (Id.) As a result of Elkton’s higher population of inmates

convicted of sex offenses, many Elkton inmates are ineligible for home confinement. (Id.)

       To date at Elkton, six inmates have been approved for transfers to home confinement. (Id.

at ¶ 20.) The inmates receiving transfers must quarantine for fourteen days prior to transfer. (Id.)

Five of the six approved transfers have dates for transfer next week. (Id.) Two more inmates are

currently being vetted by the Residential Reentry Manager. (Id.) Four inmates are in the process

of being sent to the Residential Reentry Manager for consideration. (Id.) To date, 32 inmates have

been denied home confinement as not meeting the stated criteria for a variety of reasons. (Id.)

       Concerning the four named Petitioners in this case, two have requested and been



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considered for home confinement. (Id. at ¶ 21.) Mr. Bellamy was ineligible because he has active

warrants from New Jersey. (Id.) Mr. Nieves was ineligible due to a history of serious violence

(assault with a baseball bat). (Id.) Although he has not requested home confinement, Mr. Wilson

is likely not a candidate because his recidivism risk score is too high; he has a Low recidivism risk

score and a Minimal risk score is required. (Id.) Additionally, although he has not requested home

confinement, Mr. Nelson is likely not a candidate because he has a history of violence (unlawful

discharge of a firearm) and his recidivism risk score is too high; he has a Medium recidivism risk

score and a Minimal risk score is required. (Id.)

                                     LAW AND ARGUMENT

I.     PETITIONERS ARE NOT ENTITLED TO HABEAS RELIEF

       A.      Habeas Relief is Unavailable to Challenge Conditions of Confinement

       The gravamen of the Petition is that Petitioners are entitled to habeas relief pursuant to 28

U.S.C. § 2241 based on “unconstitutional conditions of confinement.” (Pet. ECF No. 1 PageID #

35.) However, it is well-settled that a habeas petition under 28 U.S.C. § 2241, “is not the proper

vehicle for a prisoner to challenge conditions of confinement.” Luedtke v. Berkebile, 704 F.3d 465,

466 (6th Cir. 2013); see also Nelson v. Campbell, 541 U.S. 637, 643 (2004) (“[C]onstitutional

claims that merely challenge the conditions of a prisoner’s confinement, whether the inmate seeks

monetary or injunctive relief, fall outside of that core” of habeas relief.); and Sullivan v. United

States, 90 F. App’x 862, 863 (6th Cir. 2004) (“§ 2241 is [not] a vehicle [] for challenging prison

conditions….”).

       “[W]here a prisoner is challenging the very fact or duration of his physical imprisonment

and the relief that he seeks is a determination that he is entitled to immediate release or a speedier

release from that imprisonment, his sole federal remedy is a petition for writ of habeas corpus.”



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Lutz v. Hemingway, 476 F.Supp.2d 715, 718 (E.D. Mich. 2007) (citing Preiser v. Rodriguez, 411

U.S. 475, 500 (1973)). “Complaints that involve only conditions of confinement do not relate to

the legality of the petitioner’s confinement, nor do they relate to the legal sufficiency of the

criminal court proceedings which resulted in the incarceration of the petitioner,” and should be

brought as a civil rights claim. Id. (quoting Maddux v. Rose, 483 F.Supp. 661, 672 (E.D. Tenn.

1980)); see also Muhammad v. Close, 540 U.S. 749, 750 (2004) (“Challenges to the validity of

any confinement or to particulars affecting its duration are the province of habeas corpus, requests

for relief turning on circumstances of confinement may be presented in a § 1983 action.”) (internal

citation omitted).

       Where a party brings a condition of confinement claim under habeas, the court should

“dismiss[] the petition without prejudice” to allow the party to “raise his potential civil rights

claims properly.” Martin v. Overton, 391 F.3d 710, 714 (6th Cir. 2004). See also Hodges v. Bell,

170 F. App’x 389, 393 (6th Cir. 2006) (a habeas proceeding does not “grant the district court

jurisdiction to adjudicate Hodges’s conditions of confinement claims, or to order injunctive relief

in response thereto.”). Thus, this Court does not have jurisdiction to order habeas relief for a

condition of confinement claim, and the petition should be dismissed.

       B.      PLRA Precludes the Relief Requested

       Petitioners’ primary requested habeas relief is the release of hundreds of inmates from

Elkton. However, the Prison Litigation Reform Act of 1995 (“PLRA”), 18 U.S.C. § 3626, places

strict limits on courts’ ability to order the release of inmates “in any civil action in Federal court

with respect to prison conditions…” and precludes a single district judge from doing so. 18

U.S.C. § 3626(a)(3)(B). That law applies to “any civil proceeding arising under Federal law with

respect to the conditions of confinement or the effects of actions by government officials on the



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lives of persons confined in prison, but does not include habeas corpus proceedings challenging

the fact or duration of confinement in prison[.]” 18 U.S.C. § 3626(g)(2). In such a suit, the court

“may enter a temporary restraining order or an order for preliminary injunctive relief,” but such

injunctive relief “must be narrowly drawn, extend no further than necessary to correct the harm

the court finds requires preliminary relief, and be the least intrusive means necessary to correct

that harm.” 18 U.S.C. § 3626(a)(2). Under the PLRA, a “prisoner release order”—which

“includes any order, including a temporary restraining order or preliminary injunctive relief, that

has the purpose or effect of reducing or limiting the prison population, or that directs the release

from or nonadmission of prisoners to a prison,” 18 U.S.C. § 3626(g)(4)—may “be entered only

by a three-judge court,” 18 U.S.C. § 3626(a)(3)(B), and then only if certain conditions have been

met. Among other requirements, “no court shall enter a prisoner release order unless—(i) a court

has previously entered an order for less intrusive relief that has failed to remedy the deprivation

of the Federal right sought to be remedied through the prisoner release order; and (ii) the

defendant has had a reasonable amount of time to comply with the previous court orders.” 18

U.S.C. § 3626(a)(3)(A)(i)(ii).

       Congress enacted the PLRA “to oust the federal judiciary from day-to-day prison

management.” Inmates of Suffolk Cty. Jail v. Rouse, 129 F.3d 649, 655 (1st Cir. 1997); see also

Benjamin v. Jacobson, 172 F.3d 144, 182 (2d Cir. 1999) (en banc) (Calabresi, J., concurring)

(“The in banc majority argues at length that Congress meant to get the federal courts out of the

business of running jails, and it cites any number of congressional statements to that effect. I

agree.”). “Congress intended the PLRA to revive the hands-off doctrine,” which was “a rule of

judicial quiescence derived from federalism and separation of powers concerns.” Gilmore v.

People of the State of Cal., 220 F.3d 987, 991, 997 (9th Cir. 2000). “Courts must be sensitive to



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the State’s interest in punishment, deterrence, and rehabilitation, as well as the need for deference

to experienced and expert prison administrators faced with the difficult and dangerous task of

housing large numbers of convicted criminals.” Brown v. Plata, 563 U.S. 493, 511 (2011).

Section 3626 thus “restrict[s] the equity jurisdiction of federal courts,” Gilmore, 220 F.3d at 999,

and, “[b]y its terms . . . restricts the circumstances in which a court may enter an order ‘that has

the purpose or effect of reducing or limiting the prison population.’” Plata, 563 U.S. at 511

(quoting 18 U.S.C. § 3626(g)(4)). The PLRA’s “requirements ensure that the ‘last remedy’ of a

population limit is not imposed ‘as a first step.’” Id. at 514 (quoting Inmates of Occoquan v.

Barry, 844 F.2d 828, 843 (D.C. Cir. 1988)). “The release of prisoners in large numbers . . . is a

matter of undoubted, grave concern.” Id. at 501.

       Insofar as the Petitioners in this case are seeking release as a remedy for the allegedly

unconstitutional conditions at Elkton—either for themselves or for their putative class

members—the PLRA prevents this Court from granting that relief. Under the PLRA, “[t]he

authority to order release of prisoners as a remedy to cure a systemic violation of the Eighth

Amendment is a power reserved to a three-judge district court, not a single-judge district court.”

Id. at 500 (citing 18 U.S.C. § 3626(a)); see 18 U.S.C. § 3626(a)(3)(B) (“In any civil action in

Federal court with respect to prison conditions, a prisoner release order shall be entered only by

a three-judge court[.]”). Moreover, such an order may not be entered unless “(i) a court has

previously entered an order for less intrusive relief that has failed to remedy the deprivation of

the Federal right sought to be remedied through the prisoner release order; and (ii) the defendant

has had a reasonable amount of time to comply with the previous court orders.” 18 U.S.C.

§ 3626(a)(3)(A). And even a three-judge court may order prisoners released to remedy

unconstitutional prison conditions “only if the court finds by clear and convincing evidence” that



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“(i) crowding in the primary cause of the violation” and “(ii) no other relief will remedy [it.]” 18

U.S.C. § 3626(a)(3)(E)(i)-(ii).

        One court recently reached this conclusion in an identical case. In Money v. Pritzker, ___

F. Supp. 3d ___, Nos. 20-cv-2093 & 20-cv-2094, 2020 WL 1820660 (N.D. Ill. Apr. 10, 2020),

inmates from various Illinois Department of Correction facilities brought purported class action

lawsuits seeking release of prisoners over 12,000 prisoners in light of the COVID-19 pandemic.

The Court held that the PLRA prevented it from entering the relief requested by Petitioners for

the release of inmates. Id. at * 14.

        Here, there can be no dispute that the Petitioners’ lawsuit is a “civil action with respect to

prison conditions” governed by the PLRA. 18 U.S.C. § 3626(g)(2). The PLRA defines “civil

action with respect to prison conditions” broadly to mean “any civil proceeding arising under

Federal law with respect to the conditions of confinement or the effects of actions by government

officials on the lives of persons confined in prison, but [that term] does not include habeas corpus

proceedings challenging the fact or duration of confinement in prison[.]” Id. Petitioners

expressly admit that their action challenges the conditions of confinement. (Pet. ECF No. 1

PageID # 31 (“Petitioner’s [sic] Incarceration Amid the COVID-19 Outbreak in Elkton Violates

Their Rights to Constitutional Conditions of Confinement”)(emphasis added); PageID #35

(“FIRST CLAIM FOR RELIEF: Unconstitutional Conditions of Confinement in Violation of

the Eighth Amendment to the U.S. Costitution”)(emphasis added).) Accordingly, the PLRA

strictly limits the relief that this Court may grant and precludes the Court from releasing inmates

from Elkton as requested by Petitioners. 18 U.S.C. § 3626(a)(3)(B).

        C.      The BOP has not Violated the Constitution

                1.      Standard



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          Petitioners allege that their conditions of confinement at Elkton constitute a violation of

the Eighth Amendment. (Pet. ECF No. 1 PageID # 35.) The Eighth Amendment protects against

the infliction of “cruel and unusual punishments.” U.S. Const. amend. VIII. “[A] prison official

violates the Eighth Amendment only when two requirements are met.” Farmer v. Brennan, 511

U.S. 825, 834 (1994).          “First, the deprivation alleged must be, objectively, ‘sufficiently

serious’….” Id. (quoting Wilson v. Seiter, 501 U.S. 294, 297 (1991)). Accordingly, “a prison

official’s act or omission must result in the denial of ‘the minimal civilized measure of life’s

necessities….” Id. (quoting Rhodes v. Chapman, 452 U.S. 337, 347 (1981)). In claims like this,

an inmate must show that he is incarcerated under conditions posing a substantial risk of harm.

Id.    Second, “‘only the unnecessary and wanton infliction of pain implicates the Eighth

Amendment.’” Id. (quoting Wilson, 501 U.S. at 297.) Accordingly, “a prison official must have

a ‘sufficiently culpable state of mind.’” Id. (quoting Wilson, 501 U.S. at 297). As the Supreme

Court explained “[i]n prison-conditions cases that state of mind is one of ‘deliberate indifference’

to inmate health or safety….” Id. (quoting Wilson, 501 U.S. at 302-303.) Thus, in order to

establish a violation of the Eighth Amendment, the inmate must show prison officials “knows of

and disregards an excessive risk to inmate health or safety….” Id. at 837. As discussed below,

Petitioners cannot establish either prong

                  2.      Petitioners are not being Subject to an Unreasonable Risk of Harm

          Petitioners cannot establish that they have suffered a “sufficiently serious” deprivation. See

Wilson, 501 U.S. at 297. To be sure, the spread of COVID-19 in within the United States puts

everyone at some degree of risk of getting sick, but the BOP has taken appropriate steps to mitigate

those risks throughout its inmate population,5 including with respect to the inmate population at



5
    Courts around the country have recently received challenges to detention on the grounds of COVID-19 in the

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Elkton. Those measures include providing inmate and staff education; conducting inmate and

staff screening; putting into place testing, quarantine, and isolation procedures in accordance with

BOP policy and CDC guidelines; ordering enhanced cleaning and medical supplies; and taking a

number of other preventative measures. (Dees Decl. at ¶ 19.) Additionally, Elkton implemented

the “modified operations” directive in a number of ways to reduce the spread of COVID-19 among

inmates, including: (1) “grab and go” meals for inmates, meaning that inmates are permitted to

pick up pre-packaged meals at designated times, but had to return to their housing units in order

to eat; scheduled staggered mealtimes, so that only a single housing unit (approximately 150

inmates) are moving within the facility at any particular time; and (2) Health Services pill line

(controlled medication dispensing) and (3) commissary are accomplished during these times as

well, which limits potential exposure. (Id. at ¶ 12.) All inmates have access to sinks, water, and

soap at all times. (Id. at ¶ 45.) In addition, all inmates and staff were provided protective face

masks for daily use. (Id. at ¶ 50.)

         One of Petitioners’ primary arguments is that they live in units in proximity to other

prisoners and less than a six foot distance between beds. (Pet. ECF No.1 PageID # 15-17.) What

Petitioners fail to appreciate is that this situation is also true of many unincarcerated members of

the community who live with roommates or family members. See Hines v. Youssef, No. 1:13-cv-

00357-AWI-JL, 2015 WL 164215, at *4 (E.D. Cal. Jan. 13, 2015) (“Unless there is something

about a prisoner’s conditions of confinement that raises the risk of exposure substantially above



criminal bail context and have recognized the government’s public health efforts, particularly the efforts of the Bureau
of Prisons, to address the COVID-19 crisis. See United States v. Martin, No. PWG-19-140-13, 2020 WL 1274857, at
*4 (D. Md. Mar. 17, 2020); United States v. Jefferson, No. CCB 19-487, 2020 WL 1332011, at *1 (D. Md. Mar. 23,
2020); United States v. Hamilton, No. 19-CR-54-01, 2020 WL 1323036, at *2 (E.D.N.Y. Mar. 20, 2020); United
States v. Gileno, No. 3:19-cr-161, 2020 WL 1307108, at *4 (D. Conn. Mar. 19, 2020); United States, v. Rollins, Nos.
19-CR-34S, 11-CR-251S, 2020 WL 1482323 (W.D.N.Y. Mar. 27, 2020) (denying motion for release from custody
pending sentencing and explaining that “[a]s serious as it is, the outbreak of COVID-19 simply does not override the
statutory detention provisions above”).


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the risk experienced by the surrounding communities, it cannot be reasoned that the prisoner is

involuntarily exposed to a risk the society would not tolerate.”). Each unit is essentially a closed

family unit and the BOP separates each unit from other units, visitors, and sick inmates. (Dees

Decl. at ¶ 54.) BOP staff also wear masks and/or PPE and give inmates masks to wear. (Id. at

¶¶ 49-50.) During movement, inmates are able to, and are encourage to, maintain social distancing

while in line. Accordingly, Petitioners are not subject to an unreasonable risk of harm.

               3.      The BOP has not shown Deliberate Indifference but has Taken Appropriate
                       Measures to Protect the Health of Inmates at Elkton and the Public

       Petitioners likewise cannot satisfy the subjective element of the constitutional analysis,

which requires them to prove “that officials had subjective knowledge of the serious medical need

and recklessly disregarded the excessive risk to inmate health or safety from that risk.” Baker v.

District of Columbia, 326 F.3d 1302, 1306 (D.C. Cir. 2003) (citing Farmer, 511 U.S at 837). The

test is subjective, meaning “the official must both be aware of facts from which the inference could

be drawn that a substantial risk of serious harm exists, and he [or she] must also draw the

inference.” Farmer, 511 U.S at 837. In order to support a claim for deliberate indifference to

future health problems, the condition of confinement complained about must be “sure or very

likely to cause serious illness….” Helling v. McKinney, 509 U.S. 25, 33 (1993). The condition

complained of here is not the existence of COVID-19, which is not under the control of the BOP.

Rather, the condition complained of is the precautions taken to reduce exposure or spread of

COVID-19.

       To be sure, the BOP is acutely aware of the risk that COVID-19 poses to its inmate

population and to the public at large, but it can hardly be said to be indifferent, as shown by the

actions to counteract the spread of COVID-19 described above. Additionally, Health Services has

reviewed inmate medical records to identify “high-risk” individuals pursuant to CDC guidelines.


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(Dees Decl. at ¶ 30.) Health services continues to screen these individuals for symptoms and

temperature. (Id. at ¶ 31.) Further, Elkton staff are actively monitoring the general inmate

population for illness. Inmates are actively encouraged to self-report symptoms of illness to unit

staff either orally or via a written request to staff. (Id. at ¶ 33.) Any inmate who presents with

symptoms consistent with COVID-19 is evaluated by a medical provider in the Health Services

Department. (Id. at ¶ 34.) Based upon this evaluation, a determination will be made whether

isolation and/or testing is appropriate. (Id.) The decision whether to test an inmate for COVID-

19 is made by Health Services staff based on a number of criteria, including but not limited to: (1)

the nature and severity of the symptoms; (2) the inmate’s potential exposure to COVID-19; (3)

whether the inmate is considered “high-risk,” and (4) whether the inmate is on a work detail, such

as food service, that requires the inmate to interact with other inmates or staff. (Id. at ¶ 41.) Elkton

medical providers are prioritizing immediate medical care for anyone who claims symptoms

indicative of a COVID-19 infection. (Id. at ¶ 35.) Currently, medical coverage is offered 24 hours

daily at Elkton. (Id. at ¶ 3.)

        Inmates who present with symptoms consistent with COVID-like illness are placed in

isolation to separate them from asymptomatic quarantined inmates and general population inmates.

(Dees Decl. at ¶ 51.) If the inmate’s condition merits hospitalization, they are transported to a

local hospital. (Id.) In addition to isolation, Elkton has a “bridge-unit” staffed by the Ohio

National Guard medical unit. (Id. at ¶ 53.) The bridge-unit acts as a step down unit for inmates

returning from hospitalization for COVID-19 symptoms. (Id.)

        Accordingly, Petitioners cannot establish that the precautions and care at Elkton are “sure

or very likely” to lead to exposure or that that Respondents have been deliberately indifferent. The

district court in Money, 2020 WL 1820660, reached the same conclusion on similar facts. In that



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case, the court found that prison officials came forward “with a length list of the actions they have

taken to protect…inmates.” Id. at *18. The court recognized that prison officials in that case (like

BOP staff here) “are trying, very hard, to protect inmates against the virus and to treat those who

have contracted it.” Id. There was no evidence to “support any suggestion that [prison officials]

have turned a kind of blind eye and deaf ear to a known problem that would indicate ‘total

unconcern’ for the inmates’ welfare.” Id. (quoting Rosario v. Brown, 670 F.3d 816, 821 (7th Cir.

2012).) Accordingly, the actions of prison officials were not deliberately indifferent but, instead,

“easily pass constitutional muster.” Id.    This Court should find likewise.

        Further, in denying a request for release from immigration detention in the Western District

of Washington earlier this month, when Seattle was the epicenter of the COVID-19 outbreak, the

court noted that “Plaintiffs do not cite to authority, and the court is aware of none, under which the

fact of detention itself becomes an ‘excessive’ condition solely due to the risk of a communicable

disease outbreak — even one as serious as COVID-19.” Dawson v. Asher, No. C20-0409 JRL-

MAT, 2020 WL 1304557, at *2 (W.D. Wash March 19, 2020). More importantly, the BOP has

not been deliberately indifferent to the COVID-19 outbreak, but is taking aggressive measures to

combat its spread and care for inmate who contract the disease.

        While Petitioners may ultimately disagree with the measures taken by the BOP to protect

and treat inmate health and safety while also carrying out its mission to effectuate criminal

sentences imposed by federal courts, deliberate indifference is not shown simply by a difference

of medical judgment. See Scott v. Benson, 742 F.3d 335, 340 (8th Cir. 2014) (holding that a “mere

difference of opinion over matters of expert medical judgment or a course of medical treatment

fail[s] to rise to the level of a constitutional violation”). Further, in the midst of this extraordinary

emergency, “[i]t is no part of the function of a court or a jury to determine which one of two modes



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was likely to be the most effective for the protection of the public against disease.” Jacobson v.

Massachusetts, 197 U.S. 11, 30 (1905). Rather, public health officials are entitled to heightened

deference when exercising science-based public health judgment during a public health

emergency. See, e.g., United States ex rel. Siegel v. Shinnick, 219 F. Supp. 789, 791 (E.D.N.Y.

1963) (explaining in a habeas matter that “the judgment required is that of a public health officer

and not of a lawyer used to insist on positive evidence to support action; their task is to measure

risk to the public . . . . They deal in a terrible context and the consequences of mistaken indulgence

can be irretrievably tragic.”); Hickox v. Christie, 205 F. Supp. 3d 579, 594 (D.N.J. 2016) (“To

permit these constitutional claims to go forward . . . would be a judicial second-guessing of the

discretionary judgments of public health officials acting within the soute of their (and not my)

expertise.”); see also Jacobson, 197 U.S. at 31 (upholding mandatory vaccination law and

explaining that such a measure, enacted to protect public health, will not be struck down unless it

“has no real or substantial relation to [that goal], or is, beyond all question, a plain, palpable

invasion of rights…” secured by the Constitution); Bragdon v. Abbot, 524 U.S. 624, 650 (1998)

(noting that “the views of public health authorities, such as the U.S. Public Health Service, CDC,

and the National Institutes of Health, are of special weight and authority”); Sch. Bd. of Nassau

Cty., Fla. v. Arline, 480 U.S. 273, 288 (1987) (recognizing that “courts normally should defer to

the reasonable medical judgments of public health officials”). Thus, this Court should deny the

Petition.

II.      PETITIONERS ARE NOT ENTITLED TO A TEMPORARY RESTRAINING ORDER
         OR ANY INJUNCTIVE RELIEF

         A.      Standard

      In addition to habeas relief, Petitioners also seek a temporary restraining order and injunctive

relief. (Pet. ECF No. 1 PageID #36-37.) The standard for determining whether to issue a


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temporary restraining order is the same as for a preliminary injunction. Ne. Ohio Coal. for

Homeless & Serv. Employees Int’l Union, Local 1199 v. Blackwell, 467 F.3d 999, 1009 (6th Cir.

2006). “[P]reliminary injunctions are extraordinary and drastic remedies [] never awarded as of

right.” Am. Civil Liberties Union Fund of Mich. v. Livingston Cty., 796 F.3d 636, 642 (6th Cir.

2015)(quoting Platt v. Bd. Of Comm’rs on Grievances & Discipline of Ohio Supreme Ct., 769 F.3d

447, 454 (6th Cir. 2014).

       A district court must balance four factors in determining whether to grant injunctive relief:

(1) whether the movant has a strong likelihood of success on the merits; (2) whether the movant

would suffer irreparable injury absent the injunction; (3) whether the injunction would cause

substantial harm to others; and (4) whether the public interest would be served by the issuance of

an injunction. Id. The party seeking a preliminary injunction bears the burden of justifying such

relief. Id. As discussed below, Petitioners have failed to meet their heavy burden of establishing

that they are entitled to extraordinary relief in the form of a temporary restraining order.

       B.      Petitioners Unlikely to Succeed on the Merits

       Likelihood of success on the merits is a threshold issue: “[W]hen a plaintiff has failed to

show the likelihood of success on the merits, [the court] need not consider the remaining three

Winters [v. NRDC, 555 U.S. 7 (2008)] elements.” Garcia v. Google, Inc., 786 F.3d 733, 740 (9th

Cir. 2015)(internal quotation omitted). Initially, Respondents note that, as discussed above,

Petitioners cannot establish a violation of the Eighth Amendment and are, therefore, unlikely to

succeed on the merits, Moreover, Petitioners are also unlikely to succeed on the merits because:

(1) the conditions in Elkton are not as they are portrayed in the petition; (2) release is unlikely to

redress the alleged harm; (3) Petitioners are not entitled relief that would divest BOP of its

discretion to release inmates in appropriate circumstances, and; (4) Petitioners are not entitled to



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unilaterally truncate judicially-imposed sentences, which can only be modified by the sentencing

court.

                1.      The Conditions at Elkton are Different than Portraryed in the Petition

         Petitioners portray the conditions at Elkton as particularly dire and that Elkton is incapable

of preventing the spread of COVID-19. (Pet. ECF No. 1 PageID # 13-14.) Petitioners go so far

as to allege that soap and cleaning supplies are scarce, that the commissary is closed, and that

contagious prisoners are not kept away from others. (Id. at PageID # 17.) This is simply not an

accurate description of the conditions at Elkton. As described in more detail in Respondents’

statement of facts, the current situation at Elkton includes:

         1.     Screening: All incoming inmates, staff and visitors are screened prior to admission
                to Elkton for signs and symptoms of COVID-19 exposure and deny entry to anyone
                with a temperature or other symptoms of COVID-19. (Dees Decl. at ¶¶ 23-38.)
                Further, Elkton is taking a number of measures to screen current inmates. (Id. at
                ¶ ¶ 27-35.)

         2.     Quarantine Procedures: Asymptomatic inmates who have been in contact with
                symptomatic inmates for a 14 day period before being release to general population.
                Efforts are made to not add or introduce new inmates to a quarantine housing unit
                after the clock has started. Further, all new inmates or inmates being transferred to
                home confinement are also placed in a 14 day quarantine separate from general
                population. (Id. at ¶¶ 24, 52.)

         3.     Isolation: Inmates who test positive for, or have symptoms consistent with,
                COVID-19 are placed in a separate isolation unit where all staff wear PPE and all
                inmates are required to wear a surgical mask. (Id. at ¶¶ 24, 34.) In addition to the
                areas designated for quarantine and isolation, Elkton has a “bridge-unit” staffed by
                the Ohio National Guard medical unit that acts as a step down unit for inmates
                returning from hospitalization with COVID-19 symptoms. (Id. at ¶ 53.)

         4.     Cleaning and Hygiene: All common areas in inmate housing units are cleaned
                daily, and are typically cleaned by inmate orderlies multiple times throughout the
                day. (Dees Decl. at ¶ 46.) Elkton has also made this disinfectant available to
                inmates so that they may use it to clean their own cells. (Id. at ¶ 47.) Common
                Areas outside inmate living areas, including the lobby, bathrooms, cafeteria, etc.,
                are also cleaned with the same disinfectant on a daily basis. (Id. at ¶ 46.) All
                inmates and staff were provided protective face masks for daily use. (Id. at ¶ 50.)
                All inmates have access to sinks, water, and soap at all times. (Id. at ¶ 45.) All


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               inmates may receive new soap weekly. (Id.) Inmates will receive additional soap
               upon request. (Id.) For inmates without sufficient funds to purchase soap in the
               commissary, soap is provided at no cost to the inmate. (Id.)

       5.      Inmate Separation Efforts: In addition to quarantine and isolation of inmates, the
               general population is further separated into small units of no more than (Id. at
               ¶ 54.)

       Clearly, BOP is trying, very hard to protect inmates against COVID-19 and to treat those

who have contracted it. Therefore, Petitioners are unlikely to succeed on the merits.

               2.      Release is Unlikely to Redress the Alleged Harm

       Petitioners are unlikely to succeed on the merits because the primary relief that they seek

from the BOP—the release from custody of a substantial number of Elkton inmates (or

themselves)—is unlikely to redress the alleged harm that they or the members of the alleged class

purportedly suffer—a risk of contracting COVID-19. To bring a claim in federal court, a plaintiff

must satisfy the requirements for Article III standing: injury, causation, and redressability. Lujan

v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). The redressability requirement limits Article III

jurisdiction to those cases in which the relief sought will remedy the injury alleged. See Vt. Agency

of Nat. Res. v. United States ex rel. Stevens, 529 U.S. 765, 771 (2000). Although certainty is not

required, “the [plaintiff] must demonstrate ‘that it is likely as opposed to merely speculative that

the injury will be redressed by a favorable decision of the court.’” Spectrum Five LLC v. FCC, 758

F.3d 254, 260 (D.C. Cir. 2014) (citation omitted). A plaintiff must demonstrate standing (including

the redressability element) for each form of relief sought. DaimlerChrysler Corp. v. Cuno, 547

U.S. 332, 352 (2006)). “[I]f a favorable judicial decision is unlikely to correct the alleged wrong,

there is no case or controversy within the meaning of Article III.” Brookens v. Am. Fed’n of Gov’t

Emps., 315 F. Supp. 3d 561, 566 (D.D.C. 2018).




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       Petitioners cannot show that the immediate release of a substantial number of Elkton

inmates or themselves would lessen their risk of them contracting COVID-19. It cannot be denied

that COVID-19 is spreading throughout the nation generally and the State of Ohio specifically.

Some inmates and staff at Elkton have contracted COVID-19. As noted, the BOP has taken

measures to protect the staff and inmates at Elkton, including the ability to come and go from the

facility, screening new arrivals for symptoms, taking measures to allow greater social distancing

during meals and in groups, cleaning high-traffic areas more frequently, and isolating anyone

showing symptoms of COVID-19. Unlike many in the community, inmates at Elkton do not need

to leave the facility to purchase groceries, toiletries, or cleaning supplies. By contrast, Petitioners

have not (and cannot) provided any assurances that the places that that released inmates would

reside or the lifestyles they would have to maintain upon release would offer similar protections.

For example, while Petitioners complain that they are required to share a living space with a limited

number of other inmates, it is not clear that they would not be subject to the same arrangement

outside the facility. It is not even clear that all inmates that Petitioners request be released even

have a home to go to or financial resources to provide for themselves; it is likely many would be

homeless and penniless if released within 24-hours of the issuance of an order by this court as

Petitioners request. (Pet. ECF No. 2 PageID # 36.) These inmates would certainly see their risk

of contracting COVID-19 dramatically increased, not reduced, if, in the middle of a pandemic,

they were released from Elkton with no viable means to obtain food, shelter and medical care on

24-hours’ notice.

               3.      Petitioners are not Entitled to Divest BOP of its Discretion to Place Inmates
                       in Home Confinement in Appropriate Circumstances or to have the Court
                       Amend Criminal Sentences of Inmates




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       Petitioners are not entitled to have this Court release inmates from Elkton. There are

specific legal avenues for the release or transfer of post-conviction inmates. Those include home

confinement or compassionate release. Petitioners do not even attempt that this court has authority

to release prisoners based on the avenues for release and, as discussed below, Petitioners are not

likely to succeed on the merits if they did so argue,

       Regarding home confinement, the BOP may place a prisoner in home confinement only

for the shorter of 10 percent of the term of imprisonment or 6 months. 18 U.S.C. § 3624(c)(2).

Under the CARES Act, signed into law on March 27, 2020, however, “if the Attorney General

finds that emergency conditions will materially affect the functioning of the [BOP], the Director

of the Bureau may lengthen the maximum amount of time for which the Director is authorized to

place a prisoner in home confinement.” Pub. L. No. 116-136, 516 § 12003(b)(2), 134 Stat. 281

(2020). On April 3, 2020, the Attorney General made that finding and authorized the Director of

the Bureau to immediately maximize appropriate transfers to home confinement of all appropriate

inmates held at Elkton. (Cole Decl. at ¶ 18.)

       Importantly, the determination of whether to place a prisoner in home confinement is solely

in the discretion of the BOP and “not reviewable by any court.” 18 U.S.C. § 3621(b). The factors

to be considered are: the inmate’s age and vulnerability to COVID-19 per CDC guidelines, the

inmate’s conduct in prison including violence and gang activity, the inmate’s recidivism risk, the

inmate’s reentry plan, the inmate’s danger to the community. (Cole Decl. at ¶ 18.) Some offenses,

such as sex offenses, will render an inmate ineligible for home confinement. Id. As a result of

Elkton’s higher population of inmates convicted of sex offenses, many Elkton inmates are

ineligible for home confinement. Id.

       It should be noted that, regarding the four named Petitioners in this case, two have



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requested and been considered for home confinement. Id. at ¶ 21. Mr. Bellamy is ineligible

because he has active warrants from New Jersey. Id. Mr. Nieves is ineligible due to a history of

serious violence (assault with a baseball bat). Id.      Although he has not requested home

confinement, Mr. Wilson likely is not a candidate because his recidivism risk is too high; he has a

Low recidivism rate and a Minimal rate is required. Id. Additionally, although he has not requested

home confinement, Mr. Nelson is likely not a candidate because he has a history of violence

(unlawful discharge of a firearm) and his recidivism risk is too high; he has a Medium recidivism

rate and a Minimal rate is required. Id.

       Regarding compassionate release, neither BOP nor this Court have the authority to

provide inmates with “early release.” A reduction of an inmate’s federal sentence can only be

accomplished by an Article III judge, and specifically, the inmate’s sentencing judge. However,

upon an inmate’s request, the Director of BOP may make a motion to an inmate’s sentencing

court to reduce a term of imprisonment under 18 U.S.C. § 4205(g) and 18 U.S.C. §

3582(c)(1)(A). This process is outlined in the U.S. Dep’t of Justice Fed. Bureau of Prisons,

Compassionate Release/Reduction In Sentence Procedures for Implementation of 18 U.S.C. §§

3582 and 4205(g), Program Statement 5050 (Jan. 17, 2019),

http://www.bop.gov/policy/progstat/5050_050_EN.pdf.

       Importantly, while the BOP is processing these requests as expeditiously as possible, the

statute gives the BOP thirty (30) days to evaluate compassionate release requests before any

motion may be presented in the sentencing court. 18 U.S.C. § 3582(c)(1)(A). Further, the

ultimate decision lies with the sentencing judge. Id.

       By seeking release the way they do, Petitioners are essentially seeking to divest the BOP

of its statutory and regulatory discretion as to which inmates should be placed in home confinement



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and to divest sentencing judges their ability (within the requirements of law) to determine the

sentence of individuals convicted in their court. Petitioners should not be granted such sweeping

and unprecedented relief when existing administrative and statutory proceedings can grant them

the relief they seek, if appropriate. For all these reasons, Petitioners have not shown that they are

likely to succeed on the merits


        C.        Petitioners Fail to Establish Imminent Irreparable Harm

        Petitioners cannot show irreparable harm such that an injunction or TRO should issue. To

the contrary, as discussed above, the BOP has taken significant steps to ensure the health and safety

of inmates, and the minimization of risk of exposure to all inmates and staff. The BOP also has

instituted necessary precautions and procedures to ensure that any inmates who become ill will be

well-cared for.

        Petitioners have failed to establish irreparable harm on their constitutional claims. To

establish irreparable harm, Petitioners must show that, unless their motion is granted “they will

suffer ‘actual and imminent’ harm that is speculative or unsubstantiated.” Abney v. Amgen, Inc.,

443 F.3d 540, 552 (6th Cir. 2006). Moreover, “the harm alleged must be both certain and great,

rather than speculative or theoretical.” State of Ohio ex rel. Celebrezze v. Nuclear Regulatory

Comm’n, 812 F.2d 288, 290 (6th Cir. 1987). Merely showing a “possibility” of irreparable harm

is insufficient. See Winter, 555 U.S. at 22. “Issuing a preliminary injunction based only on a

possibility of irreparable harm is inconsistent with [the Supreme Court’s] characterization of

injunctive relief as an extraordinary remedy that may only be awarded upon a clear showing that

the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22.

        As discussed above, Petitioners fail to take into account the myriad protections which have

been put in place to prevent spread of infection within Elkton and to reduce the risk that persons


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with COVID-19 enter Elkton in the first place. Moreover, Petitioners fail to address in any

meaningful way how, if released, they will be safer from the risk of infection or have access to

adequate care if infected. Every person in the United States, whether in a prison or not, faces the

risk of COVID-19 exposure. See United States v. Steward, No. S1:20-cr-0052 (DCL), 2020 WL

1468005, at * 1(S.D.N.Y. Mar. 25, 2020)(“there is also no reason to find that the defendant’s

release would lessen the risk to his health presented by COVID-19); United States v. Taylor, No.

5:19-CR-192-KKC-MAS, 2020 WL 1501997, at *5 (E.D. Ky. Mar. 26, 2020)(“there is little reason

to believe that [Petitioner] would be more at risk if detained versus being released”). Thus,

Petitioners are far from showing irreparable harm.

       Further, Petitioners have other, alternative methods for relief other than seeking a

temporary restraining order, for securing early release. See, e.g., 18 U.S.C. § 3582 (compassionate

release); 18 U.S.C. § 3624(c) (prerelease custody/home confinement). Accordingly, Petitioners

have not shown irreparable harm and the inability to show irreparable harm presents an

independent basis for denying their requested emergency relief.

       D.      Granting the Requested Relief Would Cause Substantial Harm to Others

       Petitioners demand a dramatic remedy that would have a profound effect on hundreds of

inmates: the immediate release and removal of a substantial portion of the population at Elkton.

Petitioners purport to have homes that they could go to upon release, but they provide no

assurances that they can provide for their food and medical care needs nor that they will be able to

protect themselves any better against the spread of COVID-19. More importantly, they do not

(and cannot) provide any assurance regarding the hundreds of other inmates who would find

themselves immediately released. Indeed, it is quite likely that the sudden removal of so many

inmates would leave some of them homeless and without access to food, shelter, or medical care



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in the midst of a grave pandemic that is having a substantial impact on the nation. Thus, Petitioners

requested relief would cause substantial harm to themselves and others and such relief should be

denied.

          E.     Public Health and Safety Would Not Be Served by Granting the Requested Relief

          The public’s interest is not served by short circuiting the existing administrative and

judicial processes that are designed to carefully weigh freeing the individuals at issue from custody

against the risk to public safety in doing so. The risk of danger to the public in granting Petitioners

relief and requiring the immediate release of hundreds of inmates who have been convicted and

sentenced for a myriad of crimes, outweighs the alleged need for expediency here. BOP policy

requires determinations to be made as to which inmates are entitled to home confinement (see,

e.g., Attorney General’s Memorandum,), or the other judicial avenues available to convicted

prisoners. Further, the government’s interest in public safety extends to protecting the public from

the risk of the spread of COVID-19 and recidivism by released inmates. Indeed, the Attorney

General makes clear that such release should be done in a manner that balances the safety

considerations for all involved. The Attorney General recognizes that there is “an obligation to

protect the public.” This means that BOP “cannot simply release prison populations en masse onto

the streets.” Such a release “would pose profound risks to the public from released prisoners

engaging in additional criminal activity, potentially including violence or heinous sex offenses.”

Id.   Our over-burdened police and safety services should not be forced to deal with the

“indiscriminate release of thousands of prisoners onto the streets without any verification that those

prisoners will follow the laws when they are released, that they will have a safe place to go where

they will not be mingling with their former criminal associates, and that they will not return to

their former ways as soon as they walk through the prison gates. These weighty considerations



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cannot be adequately addressed by the Court granting Petitioners’ proposed relief of immediately

releasing hundreds of inmates. Clearly, Petitioners have not shown that the balance of hardships

and public interest tips in their favor.

III.    PETITIONERS HAVE NOT PROVIDED A SUFFICIENT BASIS FOR CLASS
        CERTIFICATION, AND CLASS-WIDE RELIEF WOULD LIKELY HARM MANY
        INMATES

        Petitioners purport to bring the action as a class action on behalf of themselves and “all

current and future people in post-conviction custody at Elkton….” (Pet. ECF No. 1 at PageID #29.

The class action is ‘an exception to the usual rule that litigation is conducted by and on behalf of

the individual named parties only.’” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013) (quoting

Califano v. Yamasaki, 442 U.S. 682, 700-01 (1979)). To certify a class under Fed. R. Civ. P. 23, a

plaintiff must show that the proposed class satisfies all four requirements of Fed R. Civ. P. 23(a)

and one of the three Fed. R. Civ. P. 23(b) requirements. Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

338, 350 (2011). As discussed below, class certification is inappropriate in this case.

        There are four requirements under Fed. R. Civ. P. 23(a): numerosity, commonality,

typicality, and adequacy of representation, Fed. R. Civ. P. 23(a), and the “party seeking class

certification bears the burden of proof. In re American Medical Systems, Inc., 75 F.3d 1069, 1079

(6th Cir. 1996)(citations omitted). Petitioners fall short. They claim to satisfy the numerosity

requirement only by lumping together “all current and future people in post-conviction custody at

Elkton….” (Pet. ECF No. 1 PageID # 29 at ¶ 73.) According to their Petition, this constitutes

“approximately 2,417 people in the proposed Class, and...hundreds of people in the proposed

Medically-Vulnerable Subclass.” (Id. at PageID # 30 ¶ 78.) For purposes of this filing only, the

BOP does not challenge the numerosity requirement under Rule 23(a) as constructed by

Petitioners. So construed, however, the class cannot satisfy the remaining elements.



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        A class action may not be certified unless “there are questions of law or fact common to

the class.” Fed. R. Civ. P. 23(a)(2). This means Plaintiff is required “to demonstrate that the class

members have suffered the same injury.” Dukes, 564 U.S. at 350. The Supreme Court has

cautioned that the language of Rule 23(a)(2) “is easy to misread, since ‘[a]ny competently crafted

class complaint literally raises common ‘questions.’” Id. at 349 (citations omitted). The “claims

must depend upon a common contention … of such a nature that it is capable of classwide

resolution.” Id. at 350. Determination of whether the contention is true or false must “resolve an

issue that is central to the validity of each one of the claims in one stroke.” Id.; see also id. at 352

(requiring “some glue holding the alleged reasons for all those [challenged] decisions together”).

        In Money, 2020 WL 1820660, the district court denied class action certification in identical

circumstances to the case sub judice. The district court explained that public interest “mandates

individualized consideration of any inmate’s suitability for release and on what conditions, for the

safety of the inmate, the inmate’s family, and the public at large. Id. at *14. This is because

“[e]ach putative class member comes with a unique situation—different crimes, sentences,

outdates, disciplinary histories, age, medical history, places of incarceration, proximity to infected

inmates, availability of a home landing spot, likelihood of transmitting the virus to someone at

home detention, likelihood of violation or recidivism, and danger to the community.” Id. at *15.

The district court ruled that this resulted in a lack of commonality because the only matter “apt to

drive the resolution of the litigation” was which inmates should be released. Id. at *14 (quoting

Dukes, 564 U.S. at 350.)

        Here, the identical problem exists. Petitioners’ proposed class would combine inmates that

have different crimes, sentences, outdates, disciplinary histories, ages, medical histories,

proximities to infected inmates, availabilities of a home landing spot, likelihoods of transmitting



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the virus to someone at home detention, likelihoods of violation or recidivism, and dangers to the

community. Moreover, class members likely have different means to provide for themselves upon

release and different access to medical care upon release. Petitioners even lump together inmates

who are currently sick with COVID-19 with asymptomatic inmates and inmates who were

previously sick and made a full recovery. There simply is no comomonality and typicality among

proposed class member other than being incarcerated at Elkton.

       Further, Petitioners cannot show adequacy of representation. To do so, the Sixth Circuit

has set forth two criteria: “‘(1) the representative must have common interests with unnamed

members of the class, and (2) it must appear that the representatives will vigorously prosecute the

interests of the class through qualified counsel.” In re American Medical Systems, Inc., 75 F.3d at

1083 (quoting Senter v. General Motors Corp., 532 F.2d 511, 525 (6th Cir. 1976). Plaintiffs here

demand a dramatic remedy that would have a profound effect on members of the class: the

immediate release and removal of a substantial portion of the population at Elkton. Petitioners

purport to have homes that they could go to upon release, but they provide no assurances that other

class members (including those that would have to be released to effectuate their requested

injunction) are similarly situated. Indeed, it is quite likely that the sudden removal of so many

inmates would leave some of them homeless and without access to food, shelter, or medical care

in the midst of a grave pandemic that is having a substantial impact on the nation. Petitioners’

failure to consider or account for such concerns in the immediate and sweeping relief that they

seek demonstrates that they are not fit to represent the members of their proposed class.

                                         CONCLUSION

       The BOP is taking significant and ongoing steps to prevent the spread of COVID-19 in

Elkton and to provide medical care and treatment for inmates who do become infected.



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Accordingly, Petitioners are unable to show that BOP is deliberately indifferent to a substantial

risk of harm and cannot state a constitutional claim. Moreover, the immediate release of hundreds

of prisoners by this Court is neither permitted by law nor would it serve the health and safety of

the inmates or the general public. Therefore, this Court should deny the Petition for Writ of Habeas

Corpus and the requests for a temporary restraining order, injunctive relief and declaratory

judgment.



                                                 Respectfully submitted,

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